            Case 3:20-cv-00861-JCH Document 32 Filed 10/10/20 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DEBORAH LAUFER,
         Plaintiff,

v.                                                            Case No: 3:20-cv-861-JCH


STRATFORD HOTEL PARTNERS LLC,
         Defendant.

                      PLAINTIFF’S MOTION TO STRIKE REPLY
             OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE SUR-REPLY

       Plaintiff, by and through undersigned counsel, hereby submits this Motion to Strike

Defendant’s Reply Memorandum, filed at DE 31. In the alternative, Plaintiff respectfully requests

that this Court grant leave to file a Sur-Reply.

       1.       On August 27, 2020, Defendant filed its first Motion To Dismiss and

                Memorandum. DE 14. The Plaintiff filed a Memorandum in Opposition to the

                Motion to Dismiss on September 10, 2020. DE 18. The Defendant filed a Reply

                Memorandum on October 5, 2020. DE 31.

       3.       In its Reply Memorandum, the Defendant introduced three previously un-cited

                cases, two of which were decided in 2019 and should have been mentioned in the

                Memorandum in Support of its Motion to Dismiss. See Def’s Reply

                Memorandum, DE 31, at p. 2 (Brintley v. Aeroquip Credit Union, 936 F.3d 489,

                494 (6th Cir. 2019); Carello v. Aurora Policemen Credit Union, 930 F.3d 830, 834

                (7th Cir. 2019)) An additional case is cited from a recent decision in 2020. Id.

                (Laufer v. Arpan, LLC, Case No. 1:19-cv-200-AW-GRJ (N.D. Fla. Sept. 25,



                                                   1
            Case 3:20-cv-00861-JCH Document 32 Filed 10/10/20 Page 2 of 3




                2020).

       4.       In its Reply Memorandum, the Defendant also raises the issue of Mootness for the

                first time. Id. at p. 3.

       For the reasons set forth above and the legal analysis set forth below, Defendant’s Reply

Brief must be stricken. In the alternative, Plaintiff must be granted leave to file a sur-reply so that

she may, in fairness, analyze and make her argument regarding the new cases cited and the new

mootness theory raised for the first time in the Reply Memorandum.

                                           Memorandum

       It is well established that arguments that were not properly presented in a party’s initial

brief or are raised for the first time in the reply brief are deemed waived. Strom v. Goldman,

Sachs & Co., 202 F.3d 138, 142 (2d Cir. 1999); Knipe v. Skinner,999 F.2d 708, 710-11 (2d Cir.

1993); NLRB v. Star Color Plate Service, Div. Of Einhorn Ent., Inc., 843 F.2d 1507, 1510 n. 3

(2d. Cir. 1988); United States v. Gigante, 39 F.3d 42, 50 n.2 (2d. Cir. 1994). This includes

situations where the reply brief cites legal authority that was omitted in the original brief. Ernst

Haas Studio, Inc. v. Palm Press, Inc., 164 F.3d 110, 113 (2d Cir., 1999).

       Defendant’s Reply brief is replete with new arguments it failed to make and citations to

cases it failed to reference in its earlier Memorandum on the issue of standing. Defendant has no

excuse for having failed to properly present these arguments or cite references in its

Memorandum in Support of its Motion to Dismiss and should not have waited until filing its

Reply Memorandum to complete its research.

       Because Defendant is citing new cases and new theories for the first time, Plaintiff is

prejudiced because she has no opportunity to rebut them.


                                                   2
          Case 3:20-cv-00861-JCH Document 32 Filed 10/10/20 Page 3 of 3




                                             Conclusion

       For the foregoing reasons, Defendant’s Reply Brief must be stricken or, in the alternative,

Plaintiff must be granted leave to file a sur-reply.
                                                       Respectfully submitted,

                                                       For the Plaintiff, DEBORAH LAUFER,

                                                       By: L. Kay Wilson, Esq. Fed. Juris ct16084
                                                       WILSON LAW LLC
                                                       2840 Main Street, #332
                                                       Glastonbury, CT 06033
                                                       (860)559-3733 Tele/Text
                                                       Wilson@KayWilsonLaw.com


                                     Certificate of Meet/Confer

       I hereby certify that I conferred with Defendant’s attorney with respect to the instant
motion and the Defendant opposes it.


                                        Certificate of Service

I hereby certify that on the 10th day of October, 2020, a copy of the foregoing Motion to Strike or
Leave to File a Sur-reply was filed electronically and served on all counsel of record via the
Court’s CM/ECF system.


                                               /s/ L. Kay Wilson, Fed. Juris ct16084




                                                   3
